       Case 1:18-cr-00759-RMB Document 124 Filed 08/03/20 Page 1 of 7   1
     k6o2MooC kjc

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    UNITED STATES OF AMERICA,                     New York, N.Y.

4                v.                                18 Cr. 759 (RMB)

5    JAMES MOORE,

6                     Defendant.

7    ------------------------------x               Teleconference

8                                                  June 24, 2020
                                                   10:00 a.m.
9

10   Before:

11                          HON. RICHARD M. BERMAN,

12                                                 District Judge

13

14
                                   APPEARANCES
15
     AUDREY STRAUSS
16        Acting United States Attorney for
          the Southern District of New York
17   BY: MARTIN S. BELL
          VLADISLAV VAINBERG
18        Assistant United States Attorneys

19
     TARTER KRINSKY & DROGIN, LLP
20        Attorney for Defendant
     BY: MICHAEL J. GRUDBERG
21

22

23

24

25


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
       Case 1:18-cr-00759-RMB Document 124 Filed 08/03/20 Page 2 of 7      2
     k6o2MooC kjc

1              THE LAW CLERK:    Judge, we have on the call defense

2    counsel Michael Grudberg, AUSA Vladislav Vainberg.          We also

3    have the court reporter on the phone.        Mr. Vainberg was unsure

4    if Mr. Bell was joining, but I would --

5              MR. VAINBERG:    Yes, Mr. Bell is joining, but we can go

6    ahead and proceed, and he will be on in less than a minute.

7              THE COURT:    Okay.   So --

8              (Chime)

9              THE COURT:    That may be him.

10             MR. BELL:    Hi, it's Mr. Bell.     Sorry.

11             THE COURT:    No problems.    So we are just about to

12   begin.

13             This is Judge Berman.     We had a conference or two,

14   actually, back in April, the 8th and the 10th, regarding

15   Mr. Moore's transfer to Butner; and, to make a long story

16   short, at the last conference, April 16, 2020, we were advised,

17   I had been and mentioned to you all, that Mr. Moore was on his

18   way to Butner.

19             Subsequently, on April 30, 2020, I got a very nice

20   letter from T. Scarantino, who is the warden of FMC Butner, and

21   the warden advised that Mr. Moore had been admitted to the

22   mental health unit of FMC Butner on or about April 16, 2020.

23             The letter goes on to say that currently the assigned

24   treatment team members are conducting interviews and

25   psychological testing, which are necessary to complete his


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
       Case 1:18-cr-00759-RMB Document 124 Filed 08/03/20 Page 3 of 7      3
     k6o2MooC kjc

1    evaluation.

2              It goes on to say:     "We have calculated the evaluation

3    period to end August 13, 2020."

4              And finally it says that:      "My staff will attempt to

5    complete the evaluation as soon as possible and have a final

6    report to the court within 14 working days of the end date."

7              So that is everything that I know about Mr. Moore's

8    status.   Perhaps you all have more up-to-date information.

9              Counsel.

10             MR. GRUDBERG:    Good morning, your Honor.      This is

11   Mr. Grudberg.

12             I did reach out -- and I know we have discussed in

13   prior conferences the BOP e-mail system through which family

14   and counsel can communicate with inmates.        I did reach out in

15   advance of the conference to Mr. Moore just to see what I could

16   learn from him by way of update.       I will say that back in April

17   a person named Dawn McCrae, who was the health services

18   assistant and I think she is the person who passed along

19   Warden Scarantino's correspondence to the court, she contacted

20   the parties for materials related to the case.         I sent along to

21   her Dr. Kissin's report and some other materials, the charging

22   instrument, for instance, and let her know that I would be

23   available to the team.     I have not heard from the treatment

24   team since that time.

25             Just to come back to Mr. Moore, he reported to me


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
       Case 1:18-cr-00759-RMB Document 124 Filed 08/03/20 Page 4 of 7        4
     k6o2MooC kjc

1    that -- has generally reported, in the infrequent contact that

2    we have had, that for COVID-19 health protocol reasons he is

3    largely individually confined and doesn't get out that often to

4    be able to access the computer for communicating with me.

5              But the latest from him, I don't have particularly

6    what I call HIPAA type details, but he did report that there

7    has been a recent change in his medication and he gave me the

8    bottom-line conclusion that his impression of the doctors that

9    he is working with is that he has not been restored yet.           So I

10   don't know the significance of that within the schedule, the

11   August 13 schedule that the warden has described.         But I do

12   want to pass along that there has been some change in

13   medication.

14             I should also report that, though I haven't spoken in

15   substance with the treatment team, I am advised that they did

16   reach out for some sort of clinical history from Mr. Moore's

17   wife.   I provided the contact information for her.         So I know

18   that that has occurred.

19             THE COURT:    Did he indicate if he was well or how he

20   was feeling physically or anything like that or no?

21             MR. GRUDBERG:    Yeah, he did report to me, your Honor,

22   that he is getting along pretty well.        He is obviously

23   frustrated, like everybody in the system and maybe everybody in

24   the world now, with the restrictions on his activities and his

25   movements owing to the COVID-19 protocols, but I think he was


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
       Case 1:18-cr-00759-RMB Document 124 Filed 08/03/20 Page 5 of 7    5
     k6o2MooC kjc

1    feeling in pretty good spirits and advised that he is

2    cooperating with the course of treatment and doing the best he

3    can but had no complaints.

4              And just to bring it back to where we started with all

5    of this, in April, I should also report to the court that his

6    physical health seems not to have any complications related to

7    the virus or otherwise.

8              THE COURT:    Oh, great.

9              Government, did you want to add anything?

10             MR. BELL:    Hi, Judge.    It's Martin Bell.

11             No, we have nothing to add to that factual update.

12             THE COURT:    What do you think we should do in terms of

13   setting a future calendar date?       Perhaps another status

14   conference such as this one?      And, if so, what would you think

15   about I guess late August, later in August?

16             MR. BELL:    Judge, I think that an update along those

17   lines makes sense, and we will see what we learn from either

18   Butner personnel or through Mr. Grudberg at that point.

19   Sometime in August, perhaps the back end of August, makes sense

20   to us, Judge.

21             THE COURT:    Is that all right with you, Mr. Grudberg,

22   as to a date?    I am wide open.     You just let me know what is

23   convenient for both of you.

24             MR. GRUDBERG:    I do think that is sensible, Judge.      I

25   have -- though I'm an optimist about the world coming back on,


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
       Case 1:18-cr-00759-RMB Document 124 Filed 08/03/20 Page 6 of 7    6
     k6o2MooC kjc

1    but I have no plans to be anywhere in August other than New

2    York.   So any time in the latter half of August would work.

3    And obviously if I learn anything more from Mr. Moore that I

4    think requires the court's and the parties' attention, I will

5    bring it around.    But I think an August control date is

6    sensible.

7              THE COURT:    Great.

8              Christine, I would think maybe the last week in August

9    sometime.

10             THE LAW CLERK:    How is August 26 at 10 a.m.?

11             THE COURT:    Two-six did you say?

12             THE LAW CLERK:    I did.

13             THE COURT:    What day of the week is that?

14             THE LAW CLERK:    That is a Wednesday.

15             THE COURT:    Does that work for all of you?

16             MR. BELL:    It works for the government, Judge.

17             MR. VAINBERG:    It works for the government.

18             MR. GRUDBERG:    Yes, Judge.

19             THE COURT:    Great.

20             Martin, could you do me a favor and order a copy of

21   the transcript of today's proceeding?        So, it is helpful to

22   have a record going forward.

23             MR. BELL:    Sure.   And if I may ask the court reporter

24   to send me the new handy electronic form, I would be most

25   grateful, and I will turn it around, at martin.bell@usdoj.gov.


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
       Case 1:18-cr-00759-RMB Document 124 Filed 08/03/20 Page 7 of 7    7
     k6o2MooC kjc

1    Thank you.

2              THE COURT:    That's great.

3              All right.    Good to talk to you all.      If I don't talk

4    to you before, it will be sometime -- it will be August I think

5    we said 26.    Great.   Thanks.

6              COUNSEL:   Thank you, Judge.

7              COUNSEL:   Thank you, your Honor.

8                                      oOo

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
